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AO 91 (Re~~. l if11) Crunuial Complaint(Rev. by USAO on 3/12/20)          ❑ Origuial     D Duplicate Origuial

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 United States of Aiuerica

                    4.

                                                                               2'20-m~-06134
                                                                    Case No.
 Cameron Anthony Hill,

                    Defeudant(s)


                                     CRIMIi~;AL COMPLAIIV'T BY TELEPHONE
                                    OR OTHER RELIABLE ELECTRONIC MEANS

        I, the cou~lainaut in this case, state that the following is true to tl~e best of my knowledge and belief.

On ar about the dates)ofDecember l 7, 2020, in the cotmty ofLos Angeles in the Central District of

Califonua, the defeudaut(s) violated:

          ~'OL~P. S8C11071                                         O,f,~e~ase Descrr~tiofa

         21 U.S.C. § 841(x)(1)                                     Passessiou with Intent to Distribute
                                                                   Controlled substances

        Ttus criminal complaint is based ou these facts:

        Please see attached a,,~Sdav t.

        O Continued on the attached sheet.


                                                                                             isl
                                                                                   Complainant's signature

                                                                          Demetrius Hartsfield, Special Agent
                                                                                    Frinted ~~n:rre and title
Attested to by tl~e applicant ui accordance with the requirements ofFed. R. Crim. P. 4.1 by telephone.

Date.                          12~1s~~o2o
                                                                                       it ge 's s'gr arure

City and state: Los Angeles, California                             Hon. Pedro V. Castillo, U.S. Magistrate Judge
                                                                                    Pr~rlted name and title
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I, Demetrius Hartsfield, being duly sworn, declare and state as

follows:

                       I. PURPOSE OF AFFIDAVIT

      1.     This affidavit is made in support of a criminal

complaint against Cameron Anthony HILL (~~HILL") for a violation

of 21 U.S.C. ~ 841(a)(1) (possession with the intent to

distribute controlled substances).

      1.     This affidavit is also made in support of a search

warrant for Gold iPhone (the ~~SUBJECT DEVICE") in the custody of

the United States Drug Enforcement Administration (~~DEA"), in

Los Angeles, California, as described more fully in Attachment

A.   The requested search warrant seeks authorization to seize

evidence, fruits, or instrumentalities of violations of

21 U.S.C. ~~ 841(a)(1), 846 (distribution and possession with

the intent to distribute controlled substances and attempt and

conspiracy to do so), and 21 U.S.C. ~ 843(b) (unlawful use of a

communications facility to facilitate the above-listed drug

offenses) (the "Subject Offenses"), as described more fully in

Attachment B.    Attachments A and B are incorporated herein by

reference.

     2.      The facts set forth in this affidavit are based upon

my personal observations, my training and experience, and

information obtained from various law enforcement personnel and

witnesses.    This affidavit is intended to show merely that there

is sufficient probable cause for the requested complaint and

warrant and does not purport to set forth all of my knowledge of


                                   1
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or investigation into this matter.     Unless specifically

indicated otherwise, all conversations and statements described

in this affidavit are related in substance and in part only.

                      II. BACKGROUND OF AFFIANT

     3.   I am a Special Agent with the United States Drug

Enforcement Administration ("DEA")     I have been so sworn since

December 2019. I am currently assigned to the DEA's Los Angeles

Field Division, Southern California Drug Task Force, High

Intensity Drug Trafficking Area (~~HIDTA") Group 44, which is

comprised of agents and officers from federal, state, and local

agencies who are assigned to investigate large-scale drug

trafficking. During the course of my employment with the DEA, I

have received several hundred hours of comprehensive, formal

instruction on topics such as drug identification, money

laundering techniques, patterns of drug trafficking, complex

conspiracies, the exploitation of drug traffickers'

telecommunications devices, surveillance, and other

investigative techniques. I have assisted in investigations into

the unlawful importation, manufacture, possession with intent to

distribute, and distribution of drugs and other controlled

substances, and conspiracies involving drugs and controlled

substance offenses. I have been involved in drug-related arrests

that resulted in the seizure of drugs and other evidence. I have

used a variety of investigative techniques and resources,

including, but not limited to, surveillance, confidential

sources, undercover operations, telephone toll analysis, and




                                   2
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wire intercept communications analysis in Title III wiretap

investigations.

     4.   I am familiar with narcotics traffickers' methods of

operation including the distribution, storage, and

transportation of narcotics, and the collection and transferring

of money which represents the proceeds of narcotics trafficking

and money laundering.

     5.   Additionally, I have been assisted in this

investigation by Special Agent Robert Thomas who has been with

DEA since 2009. Special Agent Thomas has worked on the Overdose

Death Investigations Team since its inception in 2018 and has

investigated numerous overdose cases since that time.

                         III. SiJI~lARY OF PROBABLE CAUSE

     6.   On or about January 6, 2020, 26-year old A.B.

("Decedent") died from fentanyl and ethanol toxicity.l Contents

of Decedent's cell phone included a WhatsApp conversation

between Decedentz and HILL,3 which showed that Decedent and HILL

arranged to meet on multiple occasions, beginning on December 8,

2019, for suspected drug transactions.9     A Federal Bureau of

Investigations (~~FBI") Source of Information (~~SOI"), who was




     1 All dates and times are approximate.
     2 Phone number (310) 904-3760.
     3 Phone number (818) 458-2654, believed to be used by HILL.
Pursuant to an Administrative Subpoena for this phone, I learned
that this number was used minimally from January 2019 and August
2020. Based on my training and experience, I know that drug
dealers typically have a second phone that they only use
sparingly and primarily for coordinating narcotics transactions
     4 Based on coroner's report and BHPD reports, the unknown
substance is believed to be Oxycodone.

                                  3
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hired by Decedent's family to coordinate a private investigation

into Decedent's death, also conducted surveillance and

undercover tactics that identified HILL as a possible suspect in

Decedent's death.   HILL was seen by the SOI and the SOI's team

on approximately three occasions, beginning on May 23, 2020,

arriving and leaving Public Storage facility located at 5570

Airdrome Street, Los Angeles, CA, carrying a small black nylon

bag or a small bag each times Additionally, HILL was seen by the

SOI and SOI's team on June 27, 2020 leaving his residence of

2162 248th Street, Lomita, CA ("HILL Residence"), and

subsequently arriving to a Starbucks in Calabasas, CA for what

is believed to be a drug transaction.      Additional DEA

investigation and surveillance corroborated the SOI's findings,

and suggests that HILL also used another phone number as a

personal phone but approximately April 1, 2020, HILL

disconnected this phone line.6

     7.   On December 17, 2020, law enforcement arrested HILL

and executed federal search warrants at the HILL Residence and

the Public Storage Unit.    During a search incident to arrest,

law enforcement found the SUBJECT DEVICE on HILL's person.

During the search of the HILL Residence and the Public Storage

Unit, law enforcement found, among other items, approximately




     5 Based on surveillance and other investigation, law
enforcement learned that HILL was using unit 347 at the Public
Storage facility ("Public Storage Unit").
     6 Phone number (310)498-6422. Based on my training and
experience, it is a common tactic for drug traffickers to have
multiple cell phones and also switch phone numbers periodically.

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1,000 pills containing suspected narcotics and approximately

$30,000.

                    IV. STATEMENT OF PROBABLE CAUSE

     8.    Based on my review of law enforcement reports,

conversations with other law enforcement agents, conversations

with Beverly Hills Police Department ("BHPD") investigators and

SOIs, my review of Decedent's phones and Administrative Subpoena

results, and my own knowledge of the investigation, I am aware

of the following:

     A.    Overdose Death of Decedent

     9.    On January 6, 2020, at 07:25 a.m., BHPD Officer Karley

Loberg responded to a 911 call regarding a male not breathing at

156 South Spalding Drive in Beverly Hills, California.'        Upon

Officer Lodberg's arrival, paramedics were already on scene and

inside the residence.    Decedent was located in a bedroom laying

on top of a bed, and was pronounced dead at the scene at

approximately 07:31 a.m.

     10.   Officer Loberg saw on a nightstand, located directly

to the right of the bed, a small purple baggie containing eight

round pills with an embossed "M" within a box on one side and a

"30" on the other side.e    Officer Loberg saw a white powdery

substance in a small pile on a laptop keyboard located on the

right side of the bed.     In the nightstand drawer of Decedent's


       Decedent lived in the house alone.
     8 These markings are consistent with a 30 milligram
Oxycodone, however, based on my training, experience, and
conversations with Special Agent Thomas, I know that these same
markings are commonly used in counterfeit pills which frequently
contain fentanyl.

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drawer, Officer Loberg found a prescription pill bottle for

Meloxicam, prescribed to Decedent and a clear jar containing

suspected marijuana.     Additionally, on the left side of the bed

Officer Loberg found a second prescription bottle containing

Doxycycline Hyclate, also prescribed to Decedent.       In a separate

room, Officer Loberg located a half empty bottle of vodka along

with a prescription bottle of NYS/ZN/SODBIC/BEN, prescribed to

Decedent.

     11.     Officer Loberg spoke with Decedent's sister, C.H.,

with whom Decedent had attended a family party the prior evening

(January 5, 2020).    C.H. stated that Decedent had approximately

two "dirty martinis" at the party and appeared to be in good

spirits. C.H. told Officer Loberg she spoke to Decedent on the

phone on January 6, 2020 at approximately 12:18 a.m.       C.H. told

Officer Loberg that Decedent seemed to be really happy, had not

made any suicidal statements, nor did he mention being

depressed.    C.H. also stated she did not know of any drug abuse

b y Decedent and that he had a history of sinus infections and

currently was sick with a cold.

     12.    On the same day, Officer Loberg spoke with Decedent's

mother, J.D., who had last seen decedent on at the same party,

on January 5, 2020 at approximately 10:00 p.m.       J.D. said that

Decedent appeared to be extremely happy and she did not believe

he was suicidal or depressed.

     13.    Officer Loberg also spoke with Decedent's friend,

W.W., who last spoke to Decedent on January 6, 2020, at

approximately 12:32 a.m.    W.W. stated she made plans with


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Decedent for the following morning and that Decedent had plans

throughout the day and did not believe he was suicidal.        W.W.

informed Officer Loberg she had talked to Decedent about drugs

and he had a very negative view towards those who used them.

Based on those statements, W.W. stated she was under the

impression that Decedent never did any drugs.

        14.   Additionally, Officer Loberg spoke with Decedent's ex-

girlfriend, L.T.     L.T. stated she had not spoken to or seen

Decedent since September 2019.     L.T. told Officer Loberg she

remembered Decedent having mood swings where he would be

incredibly happy then extremely angry without warning.        L.T.

told Officer Loberg she discovered a text message conversation

on Decedent's phone from who she assumed to be a drug dealer

prior to them splitting up.     The text messages were describing

pills such as Vicodin, Percocet, and Xanax.      L.T. stated she

realized the mood swings were a side effect from the

prescription drugs and began to notice him taking different

pills.

        15.   Lastly, Officer Loberg spoke with Decedent's

neighbor, E.K.     E.K. stated that he was visiting his girlfriend,

M.K., who was not at the location during the interview.        E.K.

said that he was often at that location, and that he had met

Decedent on numerous occasions but had not seen him in a few

days.    E.K. informed Officer Loberg of an incident where

Decedent was returning home and appeared to be under the

influence.     E.K. stated he remembered this instance because




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Decedent had fallen while walking up the stairs and E.K. caught

him and helped him to his apartment.

      B.      Autopsy of Decedent

      16.     The Los Angeles County Medical Examiner-Coroner's

Office took custody of Decedent's body from the hospital.            The

autopsy report identified the cause of death as effects of

fentanyl and ethanol.9     The toxicology laboratory states that

there was 5.1 ng/mL of fentanyl in his femoral blood, 13 ng/mL

of fentanyl in his heart blood, and 92 ng/g of fentanyl in his

liver.      Based on my training and experience, and my

conversations with Special Agent Thomas, I know that 13 ng/mL of

fentanyl is a large and potentially deadly quantity.        Special

Agent Thomas has been involved with other overdose cases where

someone has died with less than 10 ng/mL of fentanyl in their

system.

     C.      Review of Decedent's Phone

      17.    On or about October 14, 2020, BHPD Detective Kevin

Burger provided me with the forensic image (Cellebrite) of

Decedent's phone.     (Det. Burger had received consent to search

the phone from Decedent's family.)        In reviewing this data, I

was able to identify the phone number believed to be used by

HILL. Following an Administrative Subpoena on AT&T (cellphone

service provider), I identified the subscriber of this phone as

"Donny Doe" of 5400 Van Nuys Blvd., in Sherman Oaks, CA.         I




     9 Fentanyl is a prescription narcotic that is commonly mixed
and pressed into other prescription pills.


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determined that Jonny Doe is a fictitious name and that 5400 Van

Nuys Blvd., in Sherman Oaks, CA, is the location of a Mercedes-

Benz car dealership.lo

      18.    During my review of the forensic image, I found the

following:

            a.     Beginning on December 8, 2019, at approximately

3:39 p.m., the following WhatsApp message conversation occurred

between Decedent and HILL's phonell:

                 [DECEDENT]:
                 What's up brotha you around today?

                 [HILL]
                  I've been praying for you brother I haven't
                 heard from you in a while.

                 [HILL]:
                 Wednesday I will not be not sure if you can wait
                 that long. Was in your area both Saturday and Sunday

                 [DECEDENT]:
                 All is well on my end man thank you

                 [DECEDENT]:
                 I'm fine whenever maybe this weekend will be better
                 actually

                 [HILL]
                 Wednesday night is best for me but can do Saturday
                 afternoon probably

                 [HILL]
                 Glad to hear you are doing well brother

                 [DECEDENT]:



     to Based on my training and experience I know it is common
for drug dealers to use fictitious subscriber information.
     11 The extraction report displays participants as
"18184582654@s.whatsapp.net +1 (818) 458-2654" and
"13109043760@s.whatsapp.net Andrew (owner)."
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              I don't think I can do Wednesday can I let you know
              tomorrow?

              [DECEDENT]:
              It's possible it might work out

              [HILL]: yea lmk brother
              [HILL]:
              If not maybe I'll do tomorrow night but I'll let you
              know

              [HILL]:
              Just lmk brother I can start or end with you
              Wednesday as well

              [DECEDENT]:
              Won't have the $ til tomorrow so this weekend will
              probably be best. Sorry about that if it messes up
              your plan

              [HILL]:
              No prob I'll see you around 145p or. 1150a whatever
              works best for you on Saturday

              [DECEDENT]:
              Ok cool yea that's good man thank you

              [HILL]:
              For sure brother I'll see you brother

              [DECEDENT]:
              Yo if you're still coming around today 1:45 will be
              the best time I won't be home til about 1:30

              [HILL]:
              See you then brother

              [DECEDENT]:
              Any chance you'll be around a little later maybe
              2:30? I can make 1:45 work still if not

              [HILL]
              It would have to be after 230 like 3-345

              [DECEDENT]:
              That's perfect if that's ok with you

              [HILL]:
              Yea all good brother


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                  i.   Based on my training, experience, and

knowledge of this investigation, I believe this conversation is

in regards to a drug transaction that took place on December 14,

2019.   Given the familiarity between Decedent and HILL, (~~what's

up brotha,") and as no specific drug is mentioned, I believe

that a previous relationship exists between them, such that

neither felt a need to specify the type of drug being discussed.

I also believe, based on HILL's comment to Decedent, (~~I can

start or end with you Wednesday,") that Decedent is not the only

drug customer of HILL.

           b.     The conversation continued on December 17, 2019,

at approximately 10:24 p.m.:

                [HILL]:
                I'll see what I can do but my connect got in a fight
                with the guy that the other less strong batch but
                I'll see if he can make up with him. Most people
                have liked these a lot better and find they need to
                use less though

                [DECEDENT]:
                Nah I feel you brotha these are fine I was just
                wondering if there is a possibility to get like the
                actual ones doctor style

                [HILL]:
                That's really hard to find. Very constrained because
                of the news I'd say 9 out of 10 youll find are being
                pressed

                [DECEDENT]:
                Yeah I figured that was the case

                [HILL]
                I'll Look around but they'd but way more and could
                probably only get a few but I'll look for you
                brother

                [DECEDENT]:



                                   11
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                I'm still down w these ones they're pretty good but
                kinda make me not feel well you know? Gives me a
                stomach ache

                [DECEDENT]:
                But yea if you can find the real ones out there I'm
                ok taking the price hit. Same goes for bars, if you
                can get real ones I would get a bunch of them like
                20

                  i.   Based on my training, experience, and

knowledge of this investigation, I believe the previously

unspecified drug to be oxycodone.       I believe the Decedent was

wanting to purchase pharmaceutical, "doctor style," oxycodone. I

believe that HILL is selling counterfeit oxycodone, "my connect

got in a fight with the guy that the other less strong batch

[came from]," but that he could try to find them but that

pharmaceutical pills are harder to find, "9 out of 10 youll find

are being pressed," and would be more expensive, "way more and

[I] could probably only get a few."       I also believe that when

Decedent references "bars," he is referring to Xanax.

           c.     On January 3, 2020, at approximately 5:34 p.m.,

the conversation continued:

                [HILL]:
                Hey brother I wasn't able to find legit source but I
                have a new batch in if you'd like to try I'll be in
                your area tonight and tomorrow afternoon

                [DECEDENT]:
                All good bro no worries

                [DECEDENT]:
                I just got back from a trip. You around today?

                [HILL]
                Yeah I got you brother can you wait until tonight?

                [DECEDENT]:


                                   12
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              Yeah for sure would have to be after 9 though is
              that ok?

              [HILL]:
              Perfect I was thinking 10

              [HILL]
              Maybe a bit before

              [HILL]
              15 mins away

              [HILL]:
              You are home right?




              [DECEDENT]:
              Shit I'm 22 mins away

              [DECEDENT]:
              My bad

              [DECEDENT]:
              Is that ok?

              [HILL]
              Parked on Charleville facing the Spaulding street
              sign 12

              [DECEDENT]:
              OK I'l1 be there in 10 so sorry my friend




              [DECEDENT]:
              See you in a min



              { HILL]
              Coolio I'm here



     12 HILL is referring to Charleville Blvd., and South
Spalding Dr., located at the corner of Decedent's residence in
Beverly Hills, California.

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                 i.    Based on my training, experience, and

knowledge of this investigation, I believe that the HILL met

with Decedent near Decedent's residence at or about 10:08 p.m.,

and provided Decedent non-pharmaceutical oxycodone pills,

("wasn't able to find a legit source but have a new batch").

      19.   Based on these messages above and the interviews

conducted by BHPD Officer/Detectives that HILL was the last

person to see Decedent before he was found dead.        Based on my

training, experience, and knowledge of this investigations, I

know that drug distributors have used WhatsApp as a way to

encrypt their messages and also tend to use code words or terms

instead of the name of the specific drug (i.e., HILL stating

"less strong batch" and "9 out of 10 youll find are being

pressed"). I further believe, based on my training, experience,

knowledge of this investigation, and the context of this

conversation, that Decedent wanted pills specifically written by

a Doctor ("Nah I feel you brotha these are fine I was just

wondering if there is a possibility to get like the actual ones

doctor style") and that HILL was going to look for a different

batch ("That's really hard to find. Very constrained because of

the news I'd say 9 out of 10 youll find are being pressed").

     D.     Private Investigation and Meeting with Hill

      20.   After Decedent's death, an SOI was hired by Decedent's

family to conduct an investigation into Decedent's death and the

source of the drugs which resulted in Decedent's death.13        The



     13 On August 28, 2020, I debriefed the FBI SOI regarding the
private investigation into the death of Decedent.

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SOI, with consent from Decedent's family, used Decedent's phone

and the messaging app "WhatsApp" to set up the purchase of

narcotics from HILL on or about February 9, 2020.

      21.   On January 24, 2020, at approximately 7:36 p.m., HILL

again reached out to Decedent, apparently unaware of Decedent's

death.   With the permission of Decedent's family, the SOI used

Decedent's phone to message back and forth with HILL.         The

following conversation ensued:

              [HILL]:
              Heading to your part of town tonight and tomorrow
              afternoon if you need anything brother. I hope you
              are well

              [SOI]:
              What's up brotha

              [SOI]:
              Maybe this weekend

              [HILL]:
              Cool I got you brother

              [HILL]
              Does Friday night work for you ?

              [SOI]:
              Nah but tomorrow or Sunday?




              [HILL]:
              Naw it will be Sunday I think or later if tomorrow.
              I'm busy during the day tomorrow And coming to town
              now

              [SOI]:
              What time tomorrow? Monday?

              [HILL]:
              Does 730p or 930p work for you



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              [HILL]
              Maybe 945p

              [SOI]:
              Hey bro looks like 9:30 9:45 can work

              [HILL]
              Perfect I'll see you then brother

              [HILL]:
              10-15 mins away I'l1 text when close brother.


      22.   During the above conversation on February 9, 2010, SOI

and SOI's team observed HILL pull in behind the garage of

Decedent's residence driving a white Tesla Model 3 (California

license plate 8LYL872; registered to Karen Middleton Hill, 1837

Carmona Ave, Los Angeles, CA) (the ~~White Tesla").       HILL was

observed searching around Decedent's residence in an attempt to

locate the front door and the item left for him ("A few not as

long as last time but I left you something behind trash can";

"In cup behind trash by front door").      The SOI and SOI's team

were able to positively identify HILL, as well as take photos of

HILL and his vehicle.

     23.    Based on my training, experience, and knowledge of

this investigation, I believe that the above messages show that

the SOI setup a meeting with HILL using Decedent's phone.         By

using Decedent's previous interactions with HILL via WhatsApp,

the SOI was able to act as Decedent.      Based on the messages

above, I believe HILL had no knowledge of Decedent's death.




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      E.      On December 17, 2020, Law Enforcement Arrest HILL,
              Execute Federal Search Warrants at HILL House and
              Public Storage Unit, and Found Approximately 1,000
              Pills Suspected to Contain Narcotics and Approximately
              $30,000

      24.     On December 16, 2020, the Honorable Rozella A. Oliver,

United States Magistrate Judge, issued two search warrants

related to this investigation.      First, Judge Oliver issued a

warrant to search the HILL Residence, in case number 2:20-mj-

06091.      Second, Judge Oliver issued a warrant to search the

Public Storage Unit, in case number 2:20-mj-6094.

              1.   Search of HILL Residence

      25.     On December 17, 2020, at approximately 8:00 a.m., law

enforcement executed the search warrant at the HILL Residence.

After law enforcement announced, ~~Police search warrant," HILL

was arrested outside of the HILL Residence.       During a search

incident to arrest, law enforcement found the SUBJECT DEVICE.

HILL provided law enforcement with codes to unlock the SUBJECT

DEVICE and the smart door lock on the front door of the HILL

Residence.      HILL stated that he lived in the HILL Residence and

was heading out of the house to work at "Thor Fiber."

      26.     Law enforcement subsequently entered the HILL

Residence and announced their presence.       Law enforcement

encountered Christina Didonato ("Didonato") and Claudia

Sarnowska ("Sarnowska") inside of the HILL Residence and removed

them from the house while law enforcement executed the search

warrant. 14



     14 Based on information from the SOI and my knowledge of
this investigation, Sarnowska is HILL's girlfriend.

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      27.   During the search, law enforcement found a safe inside

of the bedroom of HILL and Sarnowska.        HILL claimed ownership of

the safe and unsuccessfully attempted to open the safe by

entering several incorrect codes./K~ter the safe locked out

HILL, law enforcement forcibly q~ened the safe and discovered,

among other things, approximat ly 500 pills       empty pill

capsules, empty small clear ba      ies, s    ected psilocybin

mushrooms, prescription pill bottles, blue bottles containing

male enhancement liquid, and a silver spoon with a dry white

powdery substance.ls    Law enforcement also found blue pills with

"M30" embossed on one side in two of Sarnowska's purses.          Law

enforcement also found the same types of pills in the bathroom

trashcan of HILL and Sarnowska.

            2.   Interviews of HILL and Sarnowska

      28.   I read HILL his Miranda Rights verbatim from a DEA 13A

card, and HILL stated he wanted an attorney.       I ceased

questioning HILL afterward.

     29.    DEA Special Agent Hartsfield read Sarnowska her

Miranda rights verbatim from a DEA 13A card, and Sarnowska

stated "I understand."      Sarnowska then gave law enforcement

information in relation to her drug use and knowledge of HILL's

drug distribution.     Sarnowska stated that HILL and she moved to

the HILL Residence approximately in May of 2020.        Sarnowska also

told SA Hartsfield that she and HILL got their pills recently

from a guy named "Mickey" in Anaheim, California, and that they


     is Law enforcement field tested several pills, and the pills
tested positive for methamphetamine, fentanyl, cocaine, and
other substances.
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purchased approximately 300 pills for approximately $10 per

pill.   Sarnowska also stated that she threw away the pills found

in the bathroom trashcan of HILL and Sarnowska's bedroom as law          ~/

enforcement entered the residence because she was scared.

            3.   Search of the Public Storage Unit

      30.   Concurrently with the execution of the search warrant

at the HILL Residence, law enforcement executed the search

warrant at the Public Storage Unit.        Inside of the Public

Storage Unit, law enforcement found a safe.       Law enforcement

verbally relayed the existence of the safe to officers at the

HILL Residence, and law enforcement at the HILL Residence asked

HILL for the code to the safe inside of the Public Storage Unit.

HILL provided the correct code to that safe.       Inside of the

safe, law enforcement found approximately $30,000 U.S. currency

along with scales, suspected liquid codeine, approximately 500

pills, empty pill capsules, suspected psilocybin mushroo          ,

multiple bags containing unknown substances, and pill bottles

containing unknown pills.

            V. TRAINING AND EXPERIENCE ON DRUG OFFENSES

      31.   Based on my training and experience and familiarity

with investigations into drug trafficking conducted by other law

enforcement agents, I know the following:

            a.   Drug trafficking is a business that involves

numerous co-conspirators, from lower-level dealers to higher-

level suppliers, as well as associates to process, package, and

deliver the drugs and launder the drug proceeds.        Drug

traffickers often travel by car, bus, train, or airplane, both


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domestically and to foreign countries, in connection with their

illegal activities in order to meet with co-conspirators,

conduct drug transactions, and transport drugs or drug proceeds.

           b.    Drug traffickers often maintain books, receipts,

notes, ledgers, bank records, and other records relating to the

manufacture, transportation, ordering, sale and distribution of

illegal drugs.    The aforementioned records are often maintained

where drug traffickers have ready access to them, such as on

their cell phones and other digital devices, and in their

residences.

           c.    Communications between people buying and selling

drugs take place by telephone calls and messages, such as e-

mail, text messages, and social media messaging applications,

sent to and from cell phones and other digital devices.        This

includes sending photos or videos of the drugs between the

seller and the buyer, the negotiation of price, and discussion

of whether or not participants will bring weapons to a deal.          In

addition, it is common for people engaged in drug trafficking to

have photos and videos on their cell phones of drugs they or

others working with them possess, as they frequently send these

photos to each other and others to boast about the drugs or

facilitate drug sales.

           d.    Drug traffickers often keep the names, addresses,

and telephone numbers of their drug trafficking associates on

their digital devices and in their residence.       Drug traffickers

often keep records of meetings with associates, customers, and




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suppliers on their digital devices and in their residence,

including in the form of calendar entries and location data.

             e.    Drug traffickers often use vehicles to transport

their narcotics and may keep stashes of narcotics in their

vehicles in the event of an unexpected opportunity to sell

narcotics arises.

             f.    Drug traffickers often maintain on hand large

amounts of United States currency in order to maintain and

finance their ongoing drug trafficking businesses, which operate

on a cash basis.     Such currency is often stored in their

residences and vehicles.

             g.    Drug traffickers often keep drugs in places where

they have ready access and control, such as at their residence

or in safes.      They also often keep other items related to their

drug trafficking activities at their residence, such as digital

scales, packaging materials, and proceeds of drug trafficking.

These items are often small enough to be easily hidden and thus

may be kept at a drug trafficker's residence even if the drug

trafficker lives with others who may be unaware of his criminal

activity.

             h.   It is common for drug traffickers to own multiple

phones of varying sophistication and cost as a method to

diversify communications between various customers and

suppliers.    These phones range from sophisticated smart phones

using digital communications applications such as Blackberry

Messenger, WhatsApp, and the like, to cheap, simple, and often




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prepaid flip phones, known colloquially as "drop phones," for

actual voice communications.

            VI. TRAINING AND EXPERIENCE ON DIGITAL DEVICES16

      32.    Based on my training, experience, and information from

those involved in the forensic examination of digital devices, I

know that the following electronic evidence, inter alia, is

often retrievable from digital devices:

      33.    Forensic methods may uncover electronic files or

remnants of such files months or even years after the files have

been downloaded, deleted, or viewed via the Internet.        Normally,

when a person deletes a file on a computer, the data contained

in the file does not disappear; rather, the data remain on the

hard drive until overwritten by new data, which may only occur

after a long period of time.     Similarly, files viewed on the

Internet are often automatically downloaded into a temporary

directory or cache that are only overwritten as they are

replaced with more recently downloaded or viewed content and may

also be recoverable months or years later.

      34.   Digital devices often contain electronic evidence

related to a crime, the device's user, or the existence of

evidence in other locations, such as, how the device has been



     16  As used herein, the term "digital device" includes any
electronic system or device capable of storing or processing
data in digital form, including central processing units;
desktop, laptop, notebook, and tablet computers; personal
digital assistants; wireless communication devices, such as
paging devices, mobile telephones, and smart phones; digital
cameras; gaming consoles; peripheral input/output devices, such
as keyboards, printers, scanners, monitors, and drives; related
communications devices, such as modems, routers, cables, and
connections; storage media; and security devices.

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used, what it has been used for, who has used it, and who has

been responsible for creating or maintaining records, documents,

programs, applications, and materials on the device.        That

evidence is often stored in logs and other artifacts that are

not kept in places where the user stores files, and in places

where the user may be unaware of them.       For example, recoverable

data can include evidence of deleted or edited files; recently

used tasks and processes; online nicknames and passwords in the

form of configuration data stored by browser, e-mail, and chat

programs; attachment of other devices; times the device was in

use; and file creation dates and sequence.

      35.   The absence of data on a digital device may be

evidence of how the device was used, what it was used for, and

who used it.    For example, showing the absence of certain

software on a device may be necessary to rebut a claim that the

device was being controlled remotely by such software.

      36.   Digital device users can also attempt to conceal data

b y using encryption, steganography, or by using misleading

filenames and extensions.     Digital devices may also contain

"booby traps" that destroy or alter data if certain procedures

are not scrupulously followed.      Law enforcement continuously

develops and acquires new methods of decryption, even for

devices or data that cannot currently be decrypted.

     37.    Based on my training, experience, and information from

those involved in the forensic examination of digital devices, I

know that it is not always possible to search devices for data




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during a search of the premises for a number of reasons,

including the following:

      38.   Digital data are particularly vulnerable to

inadvertent or intentional modification or destruction.         Thus,

often a controlled environment with specially trained personnel

may be necessary to maintain the integrity of and to conduct a

complete and accurate analysis of data on digital devices, which

may take substantial time, particularly as to the categories of

electronic evidence referenced above.      Also, there are now so

many types of digital devices and programs that it is difficult

to bring to a search site all of the specialized manuals,

equipment, and personnel that may be required.

      39.   Digital devices capable of storing multiple gigabytes

are now commonplace.    As an example of the amount of data this

equates to, one gigabyte can store close to 19,000 average file

size (300kb) Word documents, or 614 photos with an average size

of 1.5MB.

     40.    The search warrant requests authorization to use the

biometric unlock features of a device, based on the following,

which I know from my training, experience, and review of

publicly available materials:

            a.   Users may enable a biometric unlock function on

some digital devices.    To use this function, a user generally

displays a physical feature, such as a fingerprint, face, or

e ye, and the device will automatically unlock if that physical

feature matches one the user has stored on the device.        To

unlock a device enabled with a fingerprint unlock function, a


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user places one or more of the user's fingers on a device's

fingerprint scanner for approximately one second.        To unlock a

device enabled with a facial, retina, or iris recognition

function, the user holds the device in front of the user's face

with the user's eyes open for approximately one second.

           b.    In some circumstances, a biometric unlock

function will not unlock a device even if enabled, such as when

a device has been restarted or inactive, has not been unlocked

for a certain period of time (often 48 hours or less), or after

a certain number of unsuccessful unlock attempts.        Thus, the

opportunity to use a biometric unlock function even on an

enabled device may exist for only a short time.        I do not know

the passcodes of the devices likely to be found in the search.

           c.    Thus, the warrant I am applying for would permit

law enforcement personnel to, with respect to any device that

appears to have a biometric sensor and falls within the scope of

the warrant: (1) depress HILL's thumb- and/or fingers on the

device(s); and (2) hold the device (s) in front of HILL's face

with his or her eyes open to activate the facial-, iris-, and/or

retina-recognition feature.

     41.   Other than what has been described herein, to my

knowledge, the United States has not attempted to obtain this

data by other means.

                            VII. CONCLUSION

     42.   For all the reasons described above, there is probable

cause to believe that Cameron Anthony HILL violated 21 U.S.C. ~




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841(a)(1): Possession with Intent to Distribute a Controlled

Substance.

      43.    Further, there is probable cause to believe that the

items listed in Attachment B, which constitute evidence, fruits,

and instrumentalities of violations of the Subject Offenses will

be found on the SUBJECT DEVICE, as described in Attachment A.




Attested to by the applicant in
accordance with the requirements
of Fed. R. Crim. P. 4.1 by
telephone on this ~~ day of
 December, 2020.




HON. PEDRO V. CASTILLO
UNITED STATES MAGISTRATE JUDGE




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